     Case: 1:20-cv-03298 Document #: 48 Filed: 08/07/20 Page 1 of 2 PageID #:3337




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SUGARTOWN WORLDWIDE LLC,
TOMMY BAHAMA GROUP, INC., and
SOUTHERN TIDE, LLC,                                  Case No. 20-cv-03298

               Plaintiffs,                           Judge Matthew F. Kennelly

v.                                                   Magistrate Judge Sheila M. Finnegan

FR STORE, et al.,

               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs Sugartown

Worldwide LLC, Tommy Bahama Group, Inc., and Southern Tide, LLC (collectively

“Plaintiffs”) hereby dismiss this action with prejudice as to the following Defendants:

                 Defendant Name                                       Line No.
                    Berina Store                                          22
                    Taipingqiao                                          123
   Case: 1:20-cv-03298 Document #: 48 Filed: 08/07/20 Page 2 of 2 PageID #:3338




Dated this 7th day of August 2020.   Respectfully submitted,
                                     /s/ RiKaleigh C. Johnson

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